Office ofCase
          Harris4:17-cv-02475     Document
                  County District Clerk - Chris1-1 Filed
                                                Daniel    on 08/11/17
                                                       I Case          in TXSD
                                                              (Cause) Details      Page 1 of 11
                                                                              201745161-7    Page 1of1



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         ~~)       201745161 - CLAY, ANTHONY J vs. LAIRSON, ORVALEE DONALD (Court 234)                                                                  History     All D         1   1
                                                                                                                                                        (non-financial)

                Summary                   Appeals            Cost Statements             Transfers         Post Trial Writs            Abstracts                     Parties
               Court Costs           Judgments/Events            Settings            ServicesfNotices      Court Registry            Child Support                   Images

         ""Note: Only non-confidential public civil/criminal documents are available to the Public. All non-confidential Civil                                 Purchase Order
         documents are imaged. In Family Cases, select non-confidential documents and all e-fll!ngs are available in                                    ~      ( O documents )
         electronic format (not every document ls available for electronic viewing and a document may be filed in the case
         that is not viewable electronically). In Criminal Cases, select non~confidential documents are available in                                           Print List tO~
         electronic format (not every document is available for electronic viewing and a document may be filed in the case
         that is not viewable electronically). If the case or Civil document you are looklng for is not available and should
         be, please click here to notify Customer Service.
         You may print and save uncertified copies of documents from the preview window.

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         ~]'75839656         ___ -     Plaintiffs' Original Petltion & Request For DisclO!>U~;------- --                 0710712017          6           Adll tu Sa5k<:t        f4:
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         ---.~{j7sa396-51              Civil Case Information Sheet                                                      07/07/2017          2           Ad(] tu    llil~kCl



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http://www.hcdistrictclerk.com/edocs/public/CaseDetails.aspx?Get=wa+SiwJ3fN8TLgZT...                                                                                        8/11/2017
                 Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 2 of 11
                                                                                                                          7/7/2017 8:49:02 PM
                                                                                                                          Chris Daniel • District Clerk
                                                         CIVIL PROCESS REQUEST FORM                                       Harris County
                                                                                                                          Envelope No: 18072856
                                                                                                                           .l!t             '
                        FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY T

CASE NUMBER: _ _ _ _ _ _ _ _ __                                                      CURRENT C O U R T : - - - - - - - - - - - - - - -

TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types): Plaintiffs' Original Petition and Request for Disclosure

FILE DATE OF MOTION: July 7, 2017
                                                                                          Month/   Day/     Year

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
1.    NAME: Orvalee Donald Lairson


                                                                                                                   a·*     (~
      ADDRESS: 125 E. I I th Steet, Austin, Texas 7870 I
      AGENT: Chairman of the Texas Transportation Commission
      SERVICE BY (check one):                                                                                  ~
         0 ATTORNEY PICK-UP                                                          0    CONSTABLE          0~

            [ZJ CIVIL PROCESS SERVER- Authorized Person to Pick-up: Your                               Eye)~igation-Box 253, 832-881-6754
            D     MAIL                               0-----------~~~~_ _ _CERTIFIED MAIL
            0     PUBLICATION:                                             (~
                   Type of Publication:              0 COURTHOUSE DOOR, or ~
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                                                     0 NEWSPAPEROFYOURCHO~:
            0     OTHER, explain - - - - - - - - - - - - - - # ' " ' ' ·ci'('.)z.)j_~~~~~~~~~~~~~~~~~~~~~~~~~~~~-

********************************************************~*~***********************************************
2.    NAME: Cat & Sons Transportation LLC                                                     ~
      ADDRESS: 1019 Brazos Street, Austin, Texas 78701                                 ~
      AGENT: Secretary of the State of Texas                                         ~
      SERVICE BY (clrnckone):                                                    ©
         0 ATTORNEY PICK-UP                                                ~l.f?f!   0    CONSTABLE
            [ZJ CIVIL PROCESS SERVER-                         Auth~erson to Pick-up: Your Eye Investigation-Box 253, 832-881-6754
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                D                                    ~@lEwSPAPER OF YOUR CHOICE:                          --------------

                OTHER, explain
                                              o~
                                                iW'
ATTORNEY (OR ATTORN~GENT) REQUESTING SERVICE:
NAME: Clyde J. Moore TE~"liAR NO./ID NO. 14323690
MAILING ADDRESS:                         avo Drive Suite 303 Houston Texas 77036
                                                  FAXNUMBER: ~---~71~3~-9~5~3-~9~04=9
                                                              phone number                                    area code              fax number

EMAIL ADDRESS: beckyc@attycjmoore.com


     SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY TIDS OFFICE WILL BE HELD FOR 30 DAYS PRIOR TO
     CANCELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT THE DISPOSITION OF THE CASE.
     SERVICE REQUESTS MAY BE REINSTATED UPON APPROPRIATE ACTION BY THE PARTIES.



INSTRUMENTS TO BE SERVED:                                                                                  PROCESS TYPES:
(Fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)
                                                                                     Page 1 of2
S:\FonnsLib\Civil Bureau\Civ Fam Intake & Customer Svc\Civintake\Civil Process Request Form                                                       Rev. 517110
                Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 3 of 11

                                                                                                                    NON WRIT:
ORIGINAL PETITION                                                                                                   CITATION
       AMENDED PETITION                                                                                             ALIAS CITATION
       SUPPLEMENTAL PETITION                                                                                        PLURIES CITATION
                                                                                                                    SECRETARY OF STATE CITATION
                                                                                                                    COMMISSIONER OF INSURANCE
COUNTERCLAIM                                                                                                        IDGHWAY COMMISSIONER
      AMENDED COUNTERCLAIM                                                                                          CITATION BY PUBLICATION
      SUPPLEMENTAL COUNTERCLAIM                                                                                     NOTICE
                                                                                                                    SHORT FORM NOTICE
CROSS-ACTION:
             AMENDED CROSS-ACTION                                                                                   PRECEPT (S1,t._~~CAUSE)
             SUPPLEMENTAL CROSS-ACTION                                                                              RULE 106 S~~E

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THIRD-PARTY PETITION:                                                                                               SUB   PO~
             AMENDED THIRD-PARTY PETITION                                                                                 ~
             SUPPLEMENTAL T!IlRD-PARTYPETITION
                                                                                                                    ~
                                                                                                                  ~~TACHMENT(PROPERTY)
INTERVENTION:                                                                                                   V.!ACHMENT (WITNESS)
       AMENDED INTERVENTION                                                                                   ~     ATTACHMENT (PERSON)
             SUPPLEMENTAL INTERVENTION                                                                     o;fp
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INTERPLEADER
       AMENDED INTERPLEADER
                                                                                                    «::Ji5i         CERTIORARI

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             SUPPLEMENTAL INTERPLEADER                                                        ~~                    EXECUTION
                                                                                        ~                           EXECUTION AND ORDER OF SALE
                                                                                  ~G
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INJUNCTION                                                                 J!@                                      GARNISHMENT AFTER JUDGMENT
MOTION TO MODIFY                                                     arfl~                                          HABEAS CORPUS
SHOW CAUSE ORDER                                                 (J"                                                INJUNCTION
                                                                                                                    TEMPORARY RESTRAINING ORDER
TEMPORARY RESTRAINING ORDER                                   ~

                                                           ~                                                        PROTECTIVE ORDER (FAMILY CODE)
                                                     (f'~
                                                     ~)                                                            PROTECTIVE ORDER (CIVIL CODE)
                                                ~
                                              O~j
                                        ~~
BILL OF DISCOVERY;

      ORDER TO:                                                                                                    POSSESSION (PERSON)
                                   '!!!!?'   (specify)
                                                                                                                   POSSESSION (PROPERTY)

     MOTION TO:            ~"'~.-!!----------
                            ~    (specify)

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                  Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 4 of 11
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                                                                                                    Chris Daniel - District Clerk
                                                                CIVIL CASE INFORMATION SHEET        Harris County

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           STYLED   ANTHONY CLAY, JAOPSAN JADRIAN DEVILLE, AND JIMMIE LOWERY VS. ORVALEE
                         DONALD LAIRSON, AND CAT & SONS TRANSPORTATION LLC
                                 (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)

A civil case infonnation sheet must be co1npleted and subtnitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the thne offiline:.
1. Contact information for person completinl! case information sheet:                 Names of parties in case:                                            Person or entitv comnlctinl! sheet is:
                                                                                                                                                         L?S!,Attomey for Plaintiff/Petitioner
Name:                                         Email:                                  Plaintiff( s)/Petitioner(s):                                       QPro Se Plaintiff/Petitioner
Clyde J. Moore                                attycjmoore@yahoo.co                                                                                       0TMA¥ro Agency
                                                                                      Anthony Clay                                                       O~i'>-_
                                              m
                                                                                                                                                       ~onal Parties in Child Support Case:
Address:                                                                              Jaopsan Jadrian Deville
6001 Savoy Dr., Ste.                          Telephone:                              Jimmie Lowery
303                                           713-953-9009                                                                                      ~Custodial Parent:
                                                                                                                                            0~
City/State/Zip:                               Fax:                                    Defendant(s)/Respondent(s):                        ~               Non-Custodial Parent:
Houston, TX 77036                             713-953-9049
                                                                                      Orvalee Donald L~                                                  Pcewmed Fathec:
Signature:                                    State Bar No:
                                                                                      Cat & Sons Tra~~~tion                                              --
                                              14323690                                LLC         0 ®)

                                                                                      -                          -~
                                                                                      [Attach addition a! "a"tr.'.i\;n..~~ssary to list all partiesl
2. Indicate case tvne, or identifv the most important issue in the case (select only l):                (( il .
                                                       Civil                                                                                                 FamilvLaw
                                                                                                 0
                                                                                                                                 Post-judgment Actions
          Contract                             lninrv or Damai'e                   Real     Pr.~~    Marriae-e Relationshin          (non-Title IV-Dl
Debt/Contract                       ,C]Assault/Battery                      O_Emin~l:J<>~in/        L:l_Annulment              0Enforce1nent
  @Consumer/DTP A                   [Z]Construction                            Cond~ion             0Declare Marriage Void     []Modification-Custody
  'G]oebt/Contract                  O_Defamation                           .O_Paifitioii            Divorce                    OModification-Other
  121.Fraud/Misrepresentation       Malpractice                             Oq~111e                    []With Children                  Title IV-D
  []Other Debt/Contract:               0Accounting                         ,CJJ?esrass to Try Title    [}No Children          L,J.Enforcetnent/Modification
                                       'OLegal                            ~her Property:                                      [!Paternity
Foreclosure                            '[]Medical
     0.Home Equity-Expedited           00ther Professional
                                                                   ,,q } f j -
                                                                     ~ ~-v
                                                                                                                              0Reciprocals (UIFSA)
                                                                                                                              [J_Support Order
     _[:],Other Foreclosure             , Liability:__            n·
                                                                   1    1>---=~~.,...~~~~-1----------+-----------11
[]Franchise                         12J:Motor Vehicle AccidentUJ                Related to Criminal
[]Insurance                         []Premises                ,.__~                   Matters           Other Familv Law        Parent-Child Relatio11shio
[;:'!]'Landlord/Tenant              Pro·d.·uct Liability    ~~             _L.J_Expunction          0Enforce Foreign           LJAdoption/Adoption with
'O'Non-Competition                    L]Asbestos/Silic~N                   [)Judgment Nisi              Judgment                 Termination
                                                         ti ·              []Non-Disclosure         []Habeas Corpus            Ochild Protection
!GlPartnership
_[]Other Contract:                    ·-.._
                                      0 ~~~~1r~~?~
                                                        ~~
                                                               i ity       ·oseizure/Forfeiture
                                                                           'Owrit of Habeas Corpus-
                                                                                                    0,Name Change
                                                                                                    0Protective Order
                                                                                                                               Ochild Support
                                                                                                                               Ocustody or Visitation
                                    _0_0theiointUtv.""Ur Damage:               Pre-indictment       D:Removal of Disabilities  0.Gestational Parenting
                                           ~C!T                            OOther: _ _                  of Minority            0Grandparent Access
                                          ,..<>~ \\. i\                                             O'other: - -               o·ratemity/Parentage
           Employment                     ~~~                      Other Civil                                                 D'Termination of Parental
0.·:·_Discn.·m,.·nation
 :'/, etaIrnt1on
OR                      " fi, !r
                                   IJ
                                .'"m. inistrative.Appeal
                                _fintltrust/U lhatr
                                               ,
                                                                            _[],Lawyer Discipline
                                                                            __OP                ·
                                                                               ·, erpetuate Testimony
                                                                                                                                                                       Rights
                                                                                                                                                                     Oother Parent-Child:
[]Termination           " ~~~ Competition                                   []Securities/Stock
Qworkers' Compensation ~ J' [}Code Violations                               '0.Tortious Interference
[]other Employment           0.Foreign Judgment                             []'Other: _ _
     __                      []_Intellectual Property

             Tax                                                                                Probate & Mental Health
 0.Tax Appraisal                     Probate!Wflls/Jnrestate Administration                                         bJGuardianship---Adult
 ~.Tax Delinquency                     0Dependent Administration                                                    0Guardianship---Minor
 []other Tax                           []Independent Administration                                                 'OMental Health
                                       Oother Estate Proceedings                                                    Oother: _ _

3. lndkate nrocednre or remedv. if annlicable (11iav select nrore than J):
 .U,Appeal from Municipal or Justice Court               UDeclaratory Judgment                                                            L:J,Prejudgment Remedy
  [JArbitration-related                                  0Gamishment                                                                      []_Protective Order
 []Attachment                                            EJinterplcader                                                                   _[JReceiver
 '[]Bill ofReview                                        0License                                                                         []Sequestration
 Cfcertiorari                                           .OMandamus                                                                        [3Temporary Restraining Order/Injunction
 '[Jciass Action                                        0Post-iudgment                                                                    []Turnover
4. Indicate damal!es soul!ht (do not select ifit is a fmriilv law case):
               Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 5 of 11

,bi.Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
_(]Less than $100,000 and non-monetary relief
Dover $100, 000 but not more than $200,000
.~Over $200,000 but not more than $1,000,000
[]over $1,000,000
                                                                                                                              Rev 2/13
   Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 6 of 11
                                                                                                    7/7/2017 8:49 PM
                                                                            Chris Daniel - District Clerk Harris County
                                                                                              Envelope No. 18072856
                            2017-45161 /Court: 234                                                  By: Justin Kitchens
                                                                                              Filed: 7/7/2017 8:49 PM

                                 CAUSE NO. _ _ _ _ _ __

ANTHONY CLAY, JAOPSAN JADRIAN §                     IN THE DISTRICT COURT OF
DEVILLE, AND JIMMIE LOWERY    §
           Plaintiffs,        §
                              §
                              §
VS.                           §                     HARRIS COUNTY, TEX~
                              §
                                                                           <i
ORVALEE DONALD LAIRSON, AND   §
CAT & SONS TRANSPORTATION LLC §
           Defendants.        §                     _ _ _JUDI~I&DISTRICT
                                                                        a
                                                                  ~
                                                                 o~
                              PLAINTIFFS' ORIGINAL PETI
                                & REQUEST FOR DISCLOSJJ
                                                             ~
                                                            o@
       COMES NOW ANTHONY CLAY, JAOPSAN ~RIAN DEVILLE, AND JIMMIE
                                                        {!Qi
LOWERY, Plaintiffs, complaining of ORVALEE         D~D         LAIRSON, AND CAT & SONS
                                                   o~
TRANSPORTATION LLC, Defendants, and for~ of action shows:
                                               G
                      A. APPLICABLE       DI~VERY CONTROL PLAN
                                          ~@
       1.        Pursuant to Rule 47 ~s Rules of Civil Procedure, Plaintiffs pleads that the
                                   r())
damages in this cause excee~tf0,000.00, but are not expected to exceed $1,000,000.00.

Further, pursuant Rule     19Jh~CP, discovery in this case will be conducted under a Level 2
                            VJ
Discovery Control   Pli;~)
                   ~(fJ;                       B. PARTIES
                  Q
       2.   ~~ntiff, ANTHONY CLAY, is an individual and a resident of Houston, Harris
County, Texas.

       3.        Plaintiff, JAOPSAN JADRIAN DEVILLE, is an individual and a resident of

Houston, Harris County, Texas.

       4.        Plaintiff, JIMMIE LOWERY, is an individual and a resident of Houston, Harris
   Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 7 of 11




County, Texas.

         5.      Defendant, ORVALEE DONALD LAIRSON, is an individual who 1s a non-
resident of Texas whose home address is 9350 North 67 1h, Apartment Unit 163, Glendale,
Arizona 85302.            He may be served with process by serving the Chairman of the Texas
Transportation commission at 125•h E. 11th Street, Austin, Texas 78701, as De~t's agent for

service because Defendant was a party to a collision or accident while operd2JI motor vehicle in

Texas.                                                                          "~
         6.      Defendant, CAT & SONS TRANSPORTATION                       L~is       a foreign corporation
                                                                            iffl;""'
organized and existing under the Jaws of the State of Arizona,       4  ¢


                                                                                principal office is located at
6623 N. 67th Avenue, Glendale, Arizona 85301, and may            b~ed with process by serving the
Texas Secretary of State of Texas at 1019 Brazos           S~~stin, Texas 78701, as its agent for
service because Defendant engages in business in         I~s   but does not maintain a regular place of

business in Texas or a designated agent for serd'i,rocess and this suit arose from Defendants'

business in Texas.                                 ~
                                                  ©
                                  C.   VENUJj)~~ND     JURISDICTION
                                           (sj
         7.      Venue is proper in     ~        County, Texas, because all or a substantial part of the
            · ·
events or om1ss10ns occurre d'm    ~(Uc
                                     1s ounty, T exas.

         8.      The Court hasi@ iction over the controversy because the damages are within the

jurisdictional limits    oft~~rt.

         9.
                     I   "''ij;                  D. FACTS
                 Tilwsuit results from an automobile accident which occurred on July 9, 2015 at

the 800 bloc~mih Loop East, Harris County, Texas.
         10.    Plaintiff, ANTHONY CLAY, was the driver of a 2007 tan Chevrolet Impala

vehicle, traveling westbound in the 4th lane of the North Loop East.                   Plaintiffs JAOPSAN

JADRIAN DEVILLE, and JIMMIE LOWERY were passengers in the vehicle being driven by

Plaintiff ANTHONY CLAY.
   Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 8 of 11




        11.      Atthe same time and place, Defendant, ORVALEE DONALDSON LAIRSON, was

the driver of a 2005 red Peterbuilt, owned by Defendant, CAT & SONS TRANSPORTATION

LLC, traveling westbound in the 800 block of the North Loop East.

        12.      Defendant, ORVALEE DONALDSON LAIRSON, lost control o~vehicle while
driving at an excessive rate of speed and violently and unexpectedly cd"?fi into the rear of

Plaintiff's vehicle.                                                          ~
                                                                          0


        13.      The police officer who investigated the accident   ~l~termined that Defendant
driver contributed to causing the accident.                         ~
        14.      This accident caused serious, painful          an~~ilitating   injuries to Plaintiffs,

ANTHONY CLAY, JAOPSAN JADRIAN                       DEVILQ~          JIMMIE LOWERY, as well as

property damage.                                        0
                                                            ~
                                                        Ji~
                                                            'SUPERIOR

        15.      At all times relevant hereto,~ ALEE DONALDSON LAIRSON, was acting in
                                               ©>
the course and scope of his employment(IWith Defendant, CAT & SONS TRANSPORTATION
                                        0   (5T
LLC.                                   ~
                  F.   NEGLIGEN~QF ORVALEE DONALDSON LAIRSON
        16.      At the tim~ ~e accident, Defendant was operating his vehicle negligently.

Defendant's negligence    ~~he proximate cause of Plaintiffs injuries. Defendant had a duty to
exercise ordinary   ii:f!    operate his vehicle reasonably and prudently. Defendant breached that

duty in one or mo~~the following ways:


              a~ailing     to control speed;

              b. In failing to keep a proper lookout;

              c. In failing to make a proper and/or timely application of the brakes;
    Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 9 of 11




              d. In failing to turn Defendant's vehicle to the right or the left to avoid the collision
                 in question;

              e. In operating a motor-vehicle at an unreasonable rate of speed;

              f.   In failing to maintain a single lane.

              G. NEGLIGENCE PER SE OF ORVALEE DONALDSON LAI~ON
                                                                                         S"'
        17.        Defendant's conduct was negligence per se because        Defen~~reached         a duty

 imposed by statute.       Defendant's breach caused Plaintiffs injuries.      ~ifically, Defendant
 breached the duty imposed by statute by:
                                                                        o~
                                                                           ~
                                                                      Q
                   a. An operator shall, if following anoth~e      0     icle, maintain an assured clear
                      distance between the two vehicles, sq·           t, considering the speed of the
                      vehicles, traffic, and the conditions of rf(D' e highway, the operator can safely
                      stop without colliding with the ~- ing vehicle or veering into another
                      vehicle. Tex. Transp. Code §5450.~fa); and
                                                           ~
                   b. An operator on a roadway iflt~d into two or more clearly marked lanes of
                      traffic: (1) shall drive as ~1'ifas practical entirely within a single lane; and (2)
                      may not move from the~ unless that movement can be made safely; Tex.
                      Transp. Code § 545. 06();,.
                                            0   Q\YQJ
       H. NEGLIGENCE OF DEF                       ANT CAT & SONS TRANSPORTATION LLC
                                        I


        18.        Plaintiff would   ~~that Defendant,       CAT & SONS TRANSPORTATION LLC.,

was negligent and    negligen~~ at the time of the accident described above.         Plaintiff would show

that Defendant,    ORV;\~ DONALDSON LAIRSON, was an agent, servant and/or employee of
CAT & SONS
                     ~£i1
                   T~~PORTATION                 LLC., and was acting within the course and scope of his
                     ©
employment a"-~h agent, servant and/or employee when the accident made the basis of this suit
               ~y

occurred.     As such, Defendant, CAT & SONS TRANSPORTATION LLC, is liable for the

negligence and negligence per se of Defendant, ORVALEE DONALDSON LAIRSON, under the

theory of respondeat superior.
   Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 10 of 11




                                    I. MISNOMER/ALTEREGO

         19.    In the event any parties are misnamed or are not included herein, it is Plaintiffs'

contention that such was a "misidentification", "misnomer" and/or such parties are/were "alter

egos" of parties named herein. Alternatively, Plaintiffs contends that such "corporate veils" should



                                                                                a*
be pierced to hold such parties properly included in the interest of justice.
                                                                                    ~
                                  J. PRE-EXISTING CONDITIONS
                                                                                ~
        20.     In the alternative, Plaintiffs would show that if any      i~ and/or    condition from
                                                                          o~
which they currently suffers was pre-existing, then such condey'Was aggravated, exacerbated

and/or made worse by the negligence of the Defendants herein~



        21.
                                  K. SUBSEQUENT
                                                          ~
                                                         C~ION
                In the alternative, Plaintiffs would~ that if they suffer from any subsequent

injury and/or condition, then such injury    and/Q~dition was aggravated and/or exacerbated by
the negligence of the Defendants herein.       &
                                            JW
                                        ~i!iJi.S. LIFE TABLES
                                        ~v

        22.     Plaintiffs hereby   n~ the Defendants of their intent to use U.S.       Life Tables as

published by the U.S.   Govern~n the trial of this matter.
                           ;;:O              M.DAMAGES
                        o;JJ,O}
        23.     As ~ct and proximate result of defendant's negligence, Plaintiffs suffered severe

 and painful   in~      As a result of Plaintiffs' injuries, Plaintiffs suffered the following damages,

 which are w~ the jurisdictional limits of this Court:


                a.       Physical pain in the past, present and future;

                b.       Mental anguish in the past, present and future;

                c.       Medical expenses in the past, present and future;
  Case 4:17-cv-02475 Document 1-1 Filed on 08/11/17 in TXSD Page 11 of 11




               d.      Physical impairment in the past, present and futnre; and

                e.     Physical disfigurement;

                                N. REQUEST FOR DISCLOSURE

        24.    Under Texas Rules of Civil Procedure 194, Plaintiffs request that Defendants

disclose, within 50 days of the service of this request, the information or materia~ribed in Rule

194.2                                                                            if
                                              0. PRAYER                        ~
                                                                             o:VJ
        WHEREFORE, Plaintiffs ask that Defendants be cited to            ~p~~and answer, and on final
trial, that Plaintiffs have judgment against Defendants for:           Q~
               a.      Actual damages resulting from the a c * in question;

               b.      Pre-:judgment and     post-judgmenQ~ at the highest legal rate;

                                                   rtf
               c.       Costs of suit; and              0
                                                            Ii'@
               d.      All other relief the Court             appropriate.
                                                  ~~-
                                               ©            Respectfully submitted,
                                             ~@
                                       ~                    CLYDE J. MOORE, P.C.

                                    ~
                           u0i~
                                                  By:       /s!Clvde J Moore
                                                            Clyde J. Moore
                           ~.
                                                            State Bar No. 14323690
                                                            6001 Savoy, Ste. 303
                       o~                                   Houston, Texas 77036
                     {/}                                    TEL: (713) 953-9009
                                                            FAX: (713) 953-9049
               ~©                                           attycjmoore@yahoo.com
              ;j
                                                            ATTORNEY FOR PLAINTIFFS,
                                                            ANTHONY CLAY, JAOPSAN
                                                            JADRIAN DEVILLE, AND
                                                            JIMMIE LOWERY
